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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT
________________________________________
                                         )
UNITED STATES SECURITIES AND             )
EXCHANGE COMMISSION,                     ) No. 3:15-CV-675 (JBA)
                                         )
                      Plaintiff,         )
                                         )
      v.                                 )
                                         )
IFTIKAR AHMED,                           )
                      Defendant, and     )
                                         )
IFTIKAR ALI AHMED SOLE PROP et al.,      )
                                         ) May 27, 2020
                      Relief Defendants. )
________________________________________ )


                      RELIEF DEFENDANTS’ MOTION FOR FUNDS

       The Relief Defendants submit this Motion for a release of funds

                             The Relief Defendants are filing this Motion in conjunction

with a Motion to Seal pursuant to D. Conn. L. Civ. R. 5(e). The Relief Defendants

reserve all rights.

                                   BACKGROUND




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        This Court has frozen the entirety of the Relief Defendants’ assets to secure the

Defendant’s judgment.



        As such, Ms. Ahmed requests that the Court grant the request for an immediate

release of funds in the amount of

                 from the Family Trust to pay

                       There is good reason for the Court to grant this request.

                                       ARGUMENT

   I.        There are Assets Frozen in Excess of the Judgment Amount

        While the exact amount of the judgment is disputed, it is clear that there are

assets frozen in excess of the judgment amount. In his latest Motion for Fees, the

Receiver submits a value of the Estate assets at nearly $85 million [ECF No. 1555-11 at

4], which does not include assets he deemed not necessary to value or the disputed




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Oak assets.       Given the clear excess of funds over the judgment amount and the

equitable nature of the request, the requested release is entirely reasonable under the

circumstances.

   II.       Equity Favors A Release of Funds

          In allowing for a release of funds, albeit subject to conditions, for the Defendant

to retain counsel in his Second Circuit appeals, the Court stated that “[S]everal key

changes have occurred … amount of judgment has been determined … some Residual

Assets will likely remain [after judgment is satisfied] … liquidation has been… delayed.”

[ECF No. 1405 at 4.] The same considerations apply to the Relief Defendants’ request

here where the request is

          This Court sits in equity.




   III.      The Trust is a Disputed Asset and For the Most Part is Not Being Used
             to Secure the Judgment.

          The Iftikar A. Ahmed Family Trust (“Family Trust”) is an appropriate source of

funds for the requested relief. The Family Trust was established in 2009 for the benefit

of the minor children only. It is an irrevocable, spendthrift Trust under a third-party



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Trustee and consists of approximately $6.9 million [ECF No. 1555-11 at 4] held in a TD

Ameritrade Account. The Trust also owns a MetLife Insurance Policy and a 99%

ownership stake in The Rakitfi Holdings LLC. The Relief Defendants have inquired of

the Trustee and he consents to the requested release of the funds



         While the Court has stated that the Trust can be used to secure the SEC’s

judgment, that decision is under appeal. In addition, while the Receiver has stated that

he only intends to use approximately $31,0003 [ECF No. 1130-1 at 3] from the Trust for

use towards the judgment, that amount is nominal compared to the Trust value and the

overall Estate and still leaves millions of dollars in the Trust such that the comparatively

nominal requested amount should be released.

   IV.       Conclusion.

         Wherefore, for the reasons within, the Relief Defendants respectfully request that

the Court grant the Motion and allow for release of funds to pay




                                                  Respectfully Submitted,



                                                  By: /s/ Paul E. Knag. ______
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3 TheRelief Defendants note that the Receiver’s estimate amount for the judgment is outdated,
and subject to pending motions, appeals and the Supreme Court case Liu. The Relief
Defendants oppose the use of any of the children’s assets including, inter alia, the Trust and
UGMAs, towards the Defendant’s judgment.



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                              CERTIFICATE OF SERVICE




       I HEREBY CERTIFY that a copy of the foregoing will be sent by e-mail to all

parties by operation of the Court’s electronic filing system or by mail to anyone unable

to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may

access this filing through the Court’s CM/ECF system.



                                           /s/ Paul E. Knag
                                          Paul E. Knag – ct04194




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